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1                               UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3        MANUEL WINN,                                   Case No. 2:19-cv-00613-KJD-NJK
4                                         Plaintiff                   ORDER
              v.
5
         JAMES DZURENDA,
6
                                      Defendants
7

8            This action began with a pro se civil rights complaint filed pursuant to 42 U.S.C. §

9    1983 by a state prisoner.1 On September 17, 2020, the Court issued an order screening

10   Plaintiff’s complaint and staying the case so that Plaintiff and the Nevada Department of

11   Corrections Defendants could engage in settlement discussions. (Docket No. 24-26.)

12   The Court also instructed Plaintiff to furnish the U.S. Marshal USM-285 forms with

13   relevant information for the other Defendants within 30 days. (Id. at 26-27.)

14           Plaintiff has filed a motion requesting an extension until November 19, 2020 to

15   furnish the U.S. Marshal with the USM-285 forms. (Docket No. 10.) Plaintiff indicates

16   that his property was taken from him for over a week when he was transferred to Central

17   Arizona Florence Correctional Complex and that, as a result, he was not able to complete

18   the forms by the Court’s 30-day deadline. (Id. at 2.) The Court grants Plaintiff’s motion.

19           It is therefore ordered that Plaintiff will furnish to the U.S. Marshal the required

20   USM-285 forms with relevant information as to Defendants Warner, Thomas, Hininger,

21   Marr, Loza, Escolata, Torres, and Grijalva on the forms by November 19, 2020.

22

23           DATED: November 5, 2020
24

25                                              UNITED STATES MAGISTRATE JUDGE
26   1
      The Court notes that Plaintiff is currently being housed at Central Arizona Florence
27   Correctional Complex, a private prison facility in Florence Arizona that contracts with the
     Nevada Department of Corrections to house inmates.
28                                                1
